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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF PUERTO RICO


      UNITED STATES OF AMERICA
      Plaintiff,                                       CIVIL:

      v.                                               24-1334 (CVR)

      [1] WALTER R. PIERLUISI-ISERN,                   FRAUDULENT TRANSFER
      [2] AMERICAN MANAGEMENT AND                      COMPLAINT
      ADMINISTRATION CORPORATION,                      Title 28 U.S.C. § 3304
      A.K.A. AMAC,                                     18 U.S.C. § 3664(m)(l)(A)(ii)
      [3] ATARDECERES DEL YUNQUE INC.,
      [4] PIER PROPERTY MANAGEMENT INC.,
      [5] PRG AFFORDABLE HOUSING
      DEVELOPMENT L.L.C.,
      [6] HGX DOMINICANA SRL,
      [7] BOSQUE VERDE L.L.C.,
      [8] JANUS L.L.C.,
      [9] FIDEICOMISO WMP (WMP TRUST
      FUND),
      [10]MARCIA DE LOS ANGELES
      GONZÁLEZ-COYA FERNÁNDEZ
      [11] WALTER SIMON PIERLUISI
      GONZALEZ-COYA
      [12] MARCIA BEATRIZ PIERLUISI
      GONZALEZ-COYA
      [13] PATRICIA DE LOS ANGELES
      PIERLUISI GONZALEZ-COYA,
      [14] BANCO POPULAR DE PUERTO RICO
      Defendants.


            UNITED STATES OF AMERICA’S RESPONSE IN OPPOSITION
           TO BANCO POPULAR DE PUERTO RICO’S MOTION TO DISMISS
                  FOR FAILURE TO STATE A CLAIM (ECF #68)

TO THE HONORABLE COURT:

       COMES NOW, the United States of America, by and through the undersigned attorneys

and respectfully states and prays:
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  I.    PROCEDURAL HISTORY

        On July 25, 2024, the United States filed a complaint seeking avoidance of multiple

transactions made to defraud creditors by [1] Walter R. Pierluisi-Isern (“[1] WR Pierluisi”) and

[2] American Management and Administration Corporation (“[2] AMAC”) under applicable

provisions of the Federal Debt Collection Procedures Act, Title 18 U.S.C. § 3301, et seq.

(“FDCPA”) and Puerto Rico law (the “Complaint”). ECF #1. [14] Banco Popular de Puerto Rico

(“[14] Banco Popular”) was listed as a defendant in the case because it “may claim an interest in

properties or transactions as to which plaintiff is seeking a remedy.” Complaint, ECF #1 Section

II(B) ¶ 14, p. 8.

        On October 21, 2024, [14] Banco Popular filed a Motion to Dismiss for Failure to State a

Claim under Fed. R. Civ. P. 12(b)(6) (the “Motion to Dismiss”). ECF #68. This court granted

Plaintiff’s request for extensions of time to respond setting the deadline for November 25, 2024.

        The United States respectfully submits that the Complaint details factual circumstances

and provides a legal basis sufficient to survive [14] Banco Popular’s argument in the Motion to

Dismiss.

 II.    MOTION TO DISMISS STANDARD

        The standard to succeed on a motion to dismiss is a high one. See Federal Rule of Civil

Procedure 12(b)(6). By itself, a motion to dismiss for failure to state a claim is “viewed with

disfavor and is rarely granted.” Kaiser Aluminum & Chem. Sales, Inc. v. Avondale Shipyards, Inc.,

677 F.2d 1045, 1050 (5th Cir. 1982). The pleading requirement is that the “[f]actual allegations …

be enough to raise a right to relief above the speculative level." See Bell Atl. Corp. v. Twombly,

550 U.S. 544 (2007); see also Papasan v. Allain, 478 U.S. 265, 286 (1986)); and Ashcroft v. Iqbal,

556 U.S. 662, 678, (2009). A plaintiff’s factual allegations are “sufficient … [if they] ‘raise a right


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to relief above the speculative level.’” Maldonado-Concepcion v. Puerto Rico, 683 F. Supp. 2d

174, 76 (D.P.R. 2010) (quoting Twombly, 550 U.S. at 555).

       When considering a motion to dismiss under Rule 12(b)(6), the federal court must accept

as true all factual allegations in the complaint which “should [also] be construed favorably to the

pleader.” Fed. R. Civ. P. 12(b)(6); Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). “The task of a

court is then ‘to review the plausibility of the plaintiff's claim as a whole, not the plausibility of

each individual allegation.’” United States v. Arthur, 2011 U.S. Dist. LEXIS 105611, *5-6 (citing

Zoltek Corp. v. Structural Polymer Grp., 592 F.3d 893, 896 n.4 (8th Cir. 2010) and Braden v. Wal-

Mart Stores, Inc., 588 F.3d 585, 594 (8th Cir. 2009) (noting “the complaint should be read as a

whole, not parsed piece by piece to determine whether each allegation, in isolation, is plausible”).

       In this context, determining the existence of plausibility is a “‘context-specific’ job that

compels [judges] ‘to draw on’ [their] ‘judicial experience and common sense.’” Wadsworth v.

Maine School Administrative District 40/Regional School Unit 40, 2:19-cv-00577-JAW, 2020 WL

6370725, at *8 (D.Me. October 29, 2020) (citing Schatz, 669 F.3d at 55). In exercising this duty,

the district court may consider “matters fairly incorporated within it and matters susceptible to

judicial notice.” In re Colonial Mortgage Bankers Corp., 324 F.3d 12, 15 (1st Cir. 2003); see also

Fed. R. Evid. 201(c).

       Accordingly, when a complaint adequately states a claim, it may not be dismissed based

on a district court’s assessment that the plaintiff will fail to find evidentiary support for its

allegations or prove his claim to the satisfaction of the factfinder. “[O]nce a claim has been stated

adequately, it may be supported by showing any set of facts consistent with the allegations in the

complaint.” Bell Atl. Corp., 550 U.S. at 563 (citing Sanjuan v. American Bd. of Psychiatry and




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Neurology, Inc., 40 F.3d 247, 251 (7th Cir. 1994) (once a claim for relief has been stated, a plaintiff

“receives the benefit of imagination, so long as the hypotheses are consistent with the complaint”)).

III.    FEDERAL DEBT COLLECTION PROCEDURES ACT

        The FDCPA is very similar to the Uniform Fraudulent Transfer Act (UFTA), which has

been adopted in most states, and to parts of the federal bankruptcy code. Cf. 28 U.S.C.S. § 3304

and 11 U.S.C.S. § 548. Consequently, courts have found interpretations of the UFTA and the

federal bankruptcy code to inform the meaning of the FDCPA.

        28 U.S.C.S. § 3307 of the FDCPA allows the United States to obtain a judgment against a

transferee who has received fraudulently transferred property. Section 3304 of the statute states in

pertinent part:

                  (a) Debt Arising Before Transfer.

                  Except as provided in section 3307, a transfer made or obligation
                  incurred by a debtor is fraudulent as to a debt to the United States
                  which arises before the transfer is made or the obligation is incurred
                  if—

                  (1)

                  (A) the debtor makes the transfer or incurs the obligation without
                  receiving a reasonably equivalent value in exchange for the transfer
                  or obligation; and

                  (B) the debtor is insolvent at that time or the debtor becomes
                  insolvent as a result of the transfer or obligation ….

                  (b) Transfers Without Regard to Date of Judgment.

                  (1) Except as provided in section 3307, a transfer made or obligation
                  incurred by a debtor is fraudulent as to a debt to the United States,
                  whether such debt arises before or after the transfer is made or the
                  obligation is incurred, if the debtor makes the transfer or incurs the
                  obligation—

                  (A) with actual intent to hinder, delay, or defraud a creditor; or


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               (B) without receiving a reasonably equivalent value in exchange for
               the transfer or obligation if the debtor—

               (i)     was engaged or was about to engage in a business or a
                       transaction for which the remaining assets of the debtor were
                       unreasonably small in relation to the business or transaction.

       Pursuant to these statutory provisions, “a transfer made by a debtor is fraudulent as to a

debt to the United States arising before the transfer is made, if the transfer is made without fair and

adequate consideration given in exchange, and if the debtor is, or as a result of the transfer

becomes, insolvent” (28 U.S.C. § 3304(a)(1), (see United States v. Maryans, 1994 U.S. Dist.

LEXIS 6072, *9), and “the government may [also] prove that the transfer was fraudulent in one of

two ways: first, by demonstrating ‘actual intent’ or second, by showing constructive intent to

defraud, where an insolvent debtor makes a transfer ‘without receiving a reasonably equivalent

value in exchange.’” Id. § 3304(b)(1)(A), (B). United States v. Osborne, 807 Fed. Appx. 511, 519

(6th Cir. 2020).

       The FDCPA defines “transfer” as “every mode, direct or indirect, absolute or conditional,

voluntary or involuntary, of disposing of or parting with an asset or an interest in an asset, and

includes payment of money, release, lease, and creation of a lien or other encumbrance.” 28 U.S.C.

§ 3301(6). An “asset” is defined, in turn, as “property of a debtor.” Id. § 3301(2).

       Under the FDCPA, “[t]ransfers made to benefit third parties are clearly not made for

value.” In re Health Gourmet, Inc., 29 B.R. 673, 677 (Bank. Ct. Ma. 1983) (citing L. King, Collier

on Bankruptcy, Section 548.09 at 548-103(15th Ed. Supp. 1982) (court found that because the

debtor did not benefit from the transfer, the transfer was not made for reasonable equivalent value).

       Also under the FDCPA, the transferee’s knowledge of the debtor’s insolvency prohibits a

finding that he is a good faith transferee. Id., 29 B.R. at 677. Furthermore, “[t]he party who seeks

to establish that he is a good faith transferee has the burden of demonstrating that he is entitled to

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this status.” Id. Courts have also acknowledged an actual intent to defraud creditors where an

individual debtor transfers unencumbered corporate assets to satisfy a debt owed by the individual

debtor where the transferee had no right to seek payment from the corporation. Id., 29 B.R. at 676.

The existence of such an intent is a question of fact not subject to motion to dismiss. Id.

         Courts have also affirmed avoidance of a transfer on the ground that the transferee knew

or should have known that it was part of a single transaction from which the debtor received no

benefit. “It is well established that multilateral transactions may under appropriate circumstances

be ‘collapsed’ and treated as phases of a single transaction for analysis” under fraudulent

conveyance laws. HBE Leasing Corp. v. Frank, 48 F.3d 623, 634 (2nd Cir. 1995). For avoidance

of each transfer, however, the transferee affected must have actual or constructive knowledge of

the entire scheme that renders the exchange fraudulent. Id. “Thus, an appropriate creditor may void

or disregard a fraudulent conveyance to any person “except a purchaser for fair consideration

without knowledge of the fraud at the time of the purchase.” Id., 48 F.3d at 635 (emphasis added).

Knowledge of the fraud may be constructive and will “attributed to transferees who were aware of

circumstances that should have led them to inquire further into the circumstances of the

transaction, but who failed to make such inquiry”. Id.1

IV.      RESCISSION OF FRAUDULENT TRANSFERS UNDER PUERTO RICO LAW

         The FDCPA is not to be construed to limit the United States’ rights under any other federal

law or state law with respect to collection of to any fine, penalty, assessment, restitution, or




1 This is precisely what is alleged in the Complaint. [14] Banco Popular is obliged under the Bank Secrecy Act
(“BSA”) to know its clients. The BSA is sometimes referred to as an "anti-money laundering" (AML) law or jointly
as “BSA/AML,” and is codified at 12 U.S.C. 1829b, 12 U.S.C. 1951-1960, 31 U.S.C. 5311-5314, 5316-5336. Plaintiff
expressly alleges that [14] Banco Popular, a financial entity with a longstanding relationship with [2] AMAC and
[1] WR Pierluisi, had a duty to know its clients and upon becoming aware of their guilty plea and acknowledgment of
a multi-million-dollar debt to the United States in April 2023, had actual knowledge of their potential insolvency and
the fraudulent nature of the transactions being challenged in the Complaint.
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forfeiture arising in a criminal case. 28 U.S.C. § 3003(b)(2). Accordingly, the United States may

collect any debt owed pursuant to a criminal proceeding under Puerto Rico law.

       P.R. Laws Tit. 31, § 6231 (2020), establishes that legal transactions carried out to defraud

creditors are rescindable. Section 6231 also provides that a legal transaction is presumed to be

made to defraud creditors when:

       (a) It is dated after the credit of the injured creditor, or is made to prevent the consequences

           of a malicious act,

       (b) It consists of excluding an asset from the debtor’s assets, or preventing its

           incorporation, even if they are expected rights or mere powers, or granting new

           guarantees to previous credits,

       (c) It produces or aggravates the insolvency of the debtor, or

       (d) It is granted with the intention of undermining the action of creditors, which is

           presumed in transactions carried out between relatives within the fourth degree of

           consanguinity or second degree of affinity, in gratuitous transactions and in onerous

           transactions if it is carried out after a sentence or a writ of attachment has been issued

           against the grantor.

 V.    THE ALLEGATIONS OF THE COMPLAINT ARE NOT CONCLUSORY

       The Complaint fully complies with the pleading standard of Fed. R. Civ. P. 8(a) and 9(b).

It establishes plaintiff’s right to relief beyond a hypothetical level and alleges fraudulent conduct

and knowledge of fraud with specificity. Even though a complaint need not contain detailed factual

allegations to meet the pleading standard (Bell Atl. Corp., 550 U.S. at 555), the fifty-six-page

Complaint contains detailed allegations that duly satisfy the standard and properly alleges [14]

Banco Popular’s lack of standing as a “good faith transferee.”


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        The Complaint is comprised of much more than “mere labels, legal conclusions, or

formulaic recitations of the elements of a cause of action”. See Bell Atl. Corp., 550 U.S. at 555,

citing Papasan, 478 U.S. at 286 (1986)). The Complaint asserts eight causes of action. Counts I,

II, III, V, VI and VII allege fraudulent transfers under different provisions of Section 3304 of the

FDCPA. ECF #1, pp. 32-39 and 41-48. Counts IV and VIII allege fraudulent transfers in violation

of Puerto Rico law. Id., pp. 39-41 and 49-50. [14] Banco Popular is joined as a defendant in all

counts because the remedies sought in the case are asserted as to assets in which it may claim an

interest. Id., pp. 50-52.

        The Complaint describes in factual detail and legal substance, how defendant

[14] Banco Popular knowingly entered in financial transactions that impaired the United States’

restitution collection enforcement actions in violation of the FDCPA. The Complaint alleges that

“[14] Banco Popular provided banking services to [1] WR Pierluisi and [2] AMAC and maintained

a business relationship that required [14] Banco Popular to know them as customers, inquire about

their ownership interests, and inquire about the nature and purpose of their relationships with

[14] Banco Popular.” See Complaint, ECF #1, Section II(B) ¶ 14, p. 8.

        The Complaint also alleges that [1] WR Pierluisi and [2] AMAC were debtors to the

United States as a result of a judgments issued against them on July 11, 2023, pursuant to plea

agreements executed by each of them on April 14, 2023 where they admitted violations of Title 18,

U.S.C. § 666 for obtaining federal funds by fraud and converting for their own use and the use of

others. Id., Section IV(A), pages 11-12. The Complaint further alleges that on “April 14, 2023, the

San Juan Daily Star published an article in Puerto Rico detailing the admissions in the

Plea Agreements and notifying the public that the defendants had agreed to pay $3.7 million

dollars in illegally procured funds to the United States.” Id., Section IV(A) ¶ 9, p. 11. Therefore,


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the Complaint alleges that “[14] Banco Popular, as a financial institution providing banking

services to [1] WR Pierluisi and [2] AMAC, knew or should have known of defendants

[1] WR Pierluisi’s and [2] AMAC’s multi-million-dollar debt to the United States because the

prosecution, guilty plea, and admission of debt by defendants [1] WR Pierluisi and [2] AMAC

were widely publicized in Puerto Rico in April 2023.” Id., Section IV(A) ¶ 28, p. 14.

       The Complaint further alleges that on March 3, 2023, prior to entering into his plea

agreement with the United States in Crim. Case No. 23-148 (CVR), defendant [1] WR Pierluisi

and   his   wife,   defendant   [10]   Marcia   de   los    Angeles   Gonzalez-Coya     Fernandez

(“[10] MA Gonzalez-Coya”), transferred their proprietary interest in three real estate properties

(the “Conjugal Properties”)2 to defendant [9] Fideicomiso WMP (“[9] WMP Trust Fund”), a trust

fund they created and registered under the laws of the Commonwealth of Puerto Rico on

December 19, 2022, to hide assets from the United States, after they became aware of the

investigation into [1] WR Pierluisi’s and [2] AMAC’s wrongdoing that was commenced in

October 2022. See, Id., Section IV(A), ¶¶ 1-3, p. 10, Section IV(B)(1), ¶¶ 29-30, pp. 14-15.

The Complaint also alleges that the Conjugal Properties were encumbered by mortgages owned

by [14] Banco Popular in which the original debtors were [1] WR Pierluisi and

[10] MA González-Coya. Id., Section IV(B)(1), ¶ 31, p. 15.




2 The Conjugal Properties as described in the Complaint at page 15, are: (a) Defendants
[1] WR Pierluisi’s and [10] MA González-Coya’s main residence at Urb. Parque de Bucare,
1 Calle Bromelia, Guaynabo, Puerto Rico 00969, valued at $400,000 according to public deeds;
(b) beach apartment at Urb. Las Palmas Doradas, 90 Candelero Rd., Apt. A403, Humacao,
Puerto Rico 00791, valued at $590,000 according to public deeds, and (c) second beach apartment
at Urb. Cond. Sol y Playa, 800 Carr. 429, Apt. 313, Rincon, Puerto Rico 00677, valued at $250,000
according to public deeds.


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       The Complaint further alleges that from April 26 through 28, 2023, [2] AMAC received

more than $3.8 million in Employment Retention Tax Credits that were deposited into the

corporation’s Regions Bank account and used to give [1] WR Pierluisi an unsecured loan of

$2.9 million on April 28, 2023. Id., Section IV(B)(2)-(3), ¶ ¶ 32-40, pp. 15-16. The Complaint

also alleges that the $3.8 million received by [2] AMAC and deposited in its Regions Bank account

ending in 5368 were not subject to any previously issued valid liens or encumbrances. Id.,

Section IV(B)(2)-(3), ¶ ¶ 33 and 35, pp. 15-16.

       The Complaint alleges that on May 1, 2023, [1] WR Pierluisi issued a check from

[2] AMAC’s Regions Bank Account in the amount of $467,843.93 payable to [14] Banco Popular

in satisfaction of the mortgage encumbering one of the Conjugal Properties owned by the

[9] WMP Trust Fund: Urb. Las Palmas Doradas, Apt. A403, Humacao, Puerto Rico 00791 and

encumbered by the loan ending in xx5631, even though [2] AMAC was not a debtor or guarantor

of the mortgage being paid with [2] AMAC’s funds. Id., Section IV(B)(4), ¶ ¶ 41-46, pp. 17-18.

       The Complaint also alleges that [1] WR Pierluisi and [10] MA González-Coya used funds

from the $2.9 million unsecured loan procured on April 28, 2023, from [2] AMAC to satisfy the

mortgages encumbering the Conjugal Properties owned at the time by [11] WMP Trust Fund

which were cancelled through deeds of mortgage issued on June 30, 2023. Id., Section IV(B)(8),

¶ ¶ 66-75, pp. 21-23. The Complaint further alleges that these transactions rendered both

[2] AMAC and [1] WR Pierluisi insolvent and were plagued with indicia of fraud. Id.,

Section IV(C), ¶¶ 101-115, pp. 27-32.

       The transactions that plaintiff seeks to avoid, in which unencumbered funds belonging to

[2] AMAC and deposited in Regions Bank account ending in xxx5638 were fraudulently

transferred to [14] Banco Popular in contemporaneous transactions to satisfy debts owed by


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[1] WR Pierluisi and [10] MA González-Coya, directly or through straw transactions in which

[1] WR Pierluisi intervened, are the six transactions listed in the Complaint’s prayer for relief and

identified as Transactions:

       number 5 (Value of $467,843.93),

       number 14 (Value of $434,100.75),

       number 15 (Value of $520,000.00),

       number 16 (Value of $568,907.70),

       number 17 (Value of $314,400.00), and

       number 18 (Value of $298,982.41). Id., Section VI, pp. 53-54.

       The Complaint also alleges that “[14] Banco Popular did not provide reasonably equivalent

value to [2] AMAC or [1] WR Pierluisi for the transfers made in advanced satisfaction of the five

mortgages encumbering the Conjugal Properties owned by [9] WMP Trust Fund and which were

not overdue at the time of satisfaction and was therefore not a taker in good faith of those funds.”

Id., Section VI(D), ¶ 112 p. 31. The Complaint further alleges that the transactions of May 1 and

June 30, 2023, satisfying in full the loans guaranteed by mortgages held by [14] Banco Popular

were characterized by the following indicia or badges of fraud: the “transfers made by

[1] WR Pierluisi were to [14] Banco Popular, a lienor, who provided adequate consideration not

to [1] WR Pierluisi in exchange for the funds, but to [9] WMP Trust Fund, an insider of

[1] WR Pierluisi”, and “[o]ne of the transfers made by [2] AMAC to [14] Banco Popular, a lienor,

who provided adequate consideration in exchange for the funds not to [2] AMAC but to

[9] WMP Trust Fund, an insider of [1] WR Pierluisi who controlled [2] AMAC.” Id.,

Section VI(C), ¶ 104 p. 29; and Section VI(D), ¶ 112 p. 31.




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        The totality and specificity of the allegations in the Complaint provide plausible claims of

relief by claiming (a) that the transfers made by [2] AMAC and [1] WR Pierluisi were fraudulent

as to a debt to the United States arising before the transfer because the transfers were made without

fair and adequate consideration given in exchange,3 and because the debtor was, or as a result of

the transfer became, insolvent in violation of Section § 3304(a)(1) of the FDCPA, (b) that the

transfers were made with actual intent to defraud under Section 3304(b)(1)(A) of the FDCPA, and

(c) that the transfers constituted constructive intent to defraud, because [2] AMAC and

[1] WR Pierluisi became insolvent debtors by making these transfers without receiving a

reasonably equivalent value in exchange under Section 3304(b)(1)(B) of the FDCPA.

The allegations further establish that [14] Banco Popular had such knowledge and duty to inquire

as to the transactions as would defeat any defense as a good faith transferee.

        The Complaint’s specific allegations also duly establish a plausible claim of fraudulent

transfer under P.R. Laws Tit. 31, § 6231 because the transfers, as alleged, (a) occurred after the

debt to the United States accrued, (b) excluded assets from the debtor’s estate, (c) caused or

aggravated the debtor’s insolvency, and (d) were carried to the benefit of relatives within the fourth

degree of consanguinity or second degree of affinity and in gratuitous transactions were the debtors

received no benefit.




3 As previously explained, under the FDCPA transfers made to benefit third parties are clearly not made for value.
See In re Health Gourmet, Inc., 29 B.R. 673, 677 (Bank. Ct. Ma. 1983). [2] AMAC received no value through the
transactions in which its unencumbered funds were used to satisfy debts owed by [1] WR Pierluisi in his personal
capacity to [14] Banco Popular. [14] Banco Popular is not a secured creditor as to [2] AMAC’s unencumbered funds
in the Regions Bank account and had to right to receive the funds as payment of antecedent debt.
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VI.    THE COMPLAINT ALLEGES SUFFICIENT FACTS TO CHALLENGE
       [14] BANCO POPULAR’S STANDING AS A GOOD FAITH TRANSFEREE

       The key element missing from defendant [14] Banco Popular’s argument is context. As

fully detailed in the Complaint, the financial transfers challenged in the Complaint did not occur

in a vacuum. The contemporaneous transfers of funds between May 1 and June 30, 2023, which

plaintiff seeks to avoid were part of a scheme designed to evade payment of the restitution

judgment, while protecting [1] WR Pierluisi’s real estate interests, by using [2] AMAC’s

unencumbered assets to satisfy all liens encumbering [1] WR Pierluisi’s personal assets and assets

transferred to [9] WMP Trust Fund, an insider of [1] WR Pierluisi.

       The financial transactions through which [1] WR Pierluisi fraudulently sought to satisfy

the mortgages encumbering the Conjugal Properties with unencumbered funds belonging to

[2] AMAC included payments made on May 1 and 2, 2023, to [14] Banco Popular,

contemporaneously— only three days after—from the date in which [1] WR Pierluisi, as President

of [2] AMAC, loaned himself $2,946,271.18 from [2] AMAC’s unencumbered funds deposited

into Regions Bank account ending in 5368, to wit:

       (a) $467,843.93 paid on May 1, 2023, with a check issued from [2] AMAC’s Regions

           Bank account payable to [14] Banco Popular,

       (b) $247,531.00 paid on May 1, 2023, with a cashier’s check from Regions Bank payable

           to [14] Banco Popular, and

       (c) $400,303.00 paid on May 2, 2023, with a cashier’s check from Regions Bank payable

           to [14] Banco Popular.




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       The following image illustrates the voidable transfers to [14] Banco Popular through which

defendant [1] WR Pierluisi sought to divert unencumbered funds belonging to [2] AMAC and

deposited into the Regions Bank account xxx5368 to satisfy his personal obligations:




       These contemporaneous transactions are precisely the type of multilateral transactions that

are to be collapsed and treated as phases of a single transaction under fraudulent conveyances

analysis. See HBE Leasing, 48 F.3d at 634. As alleged in the Complaint, [1] WR Pierluisi and

[2] AMAC were long time clients of defendant [14] Banco Popular. The relationship that

[14] BPPR had with defendants [1] WR Pierluisi, [10] MA Gonzalez-Coya, their

Conjugal Partnership, and [2] AMAC went far beyond the three mortgage-backed loans over the

Conjugal Properties. [2] AMAC had approximately eleven accounts in [14] BPPR, and a

relationship that extended for years. Similarly, [1] WR Pierluisi and [10] MA Gonzalez-Coya had

personal bank accounts in [14] BPPR. As such, [14] Banco Popular was fully aware of their


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personal and corporate financial circumstances, including their criminal prosecution and resulting

debt to the United States and had a duty under the BSA to inquire as to their transactions. See

Complaint, ECF #1, Section II(B) ¶¶ 14 and 28, p. 8 and 14; Section IV(A) ¶ 9, p. 11. Thus, at the

time of the challenged transfers it was [14] BPPR’s responsibility and duty under applicable

BSA regulations to know and inquire about the origin of the multi-million-dollar transfers

completed by [1] WR Pierluisi with [2] AMAC’s corporate funds to satisfy personal loans

encumbering properties owned by a third party: [11] WMP Trust Fund.

       Moreover, neither [1] WR Pierluisi, nor his wife [10] MA Gonzalez-Coya, were involved

in a bankruptcy proceeding at the time of the satisfaction of the mortgages on May 1 and June 30,

2023; nor had they initiated a liquidation of assets process, as [14] Banco Popular well knew.

Accordingly, none of the loans secured by the mortgages over the Conjugal Properties and being

satisfied in full between May 1 and June 30, 2023, with funds originating from [2] AMAC’s

Regions Bank account were in default or under acceleration. [14] Banco Popular was not

foreclosing on the real estate properties of the Conjugal Partnership of [1] WR Pierluisi and [10]

MA Gonzalez-Coya.

       Even more significant, [2] AMAC was not a debtor or guarantor of [14] Banco Popular

under the mortgages encumbering the Conjugal Properties and did not have a debt with

[14] Banco Popular for the properties named in the Complaint. Accordingly, [2] AMAC did not

have an antecedent debt pursuant to which it would be making payments to [14] Banco Popular

after it was ordered to pay $3,712,000 in restitution to the United State by this court.

       The one and only impending financial event looming over defendants [1] WR Pierluisi and

[2] AMAC at the time of the fraudulent transfers on May 1 and June 30, 2023, was the

$2,035,498.86 and $3,712,000 joint and several restitution debts that the court imposed upon


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defendants after their guilty pleas in United States v. Walter R. Pierluisi-Isern, et al., Criminal 23-

148 (CVR). As alleged, this event was so publicly disseminated by the news media, that

[14] Banco Popular, a sophisticated lender and financial entity in Puerto Rico, was fully aware

of it.

          The timing, the fact that a third party was the entity who benefitted from the transfers of

funds, and the absolute failure to apply any funds towards the restitution judgment due and in

default, reflects that payments received by [14] Banco Popular from [2] AMAC between May 1

and June 30, 2023, directly or through [1] WR Pierluisi, to completely satisfy the mortgages

encumbering the Conjugal Properties donated to [11] WMP Trust Fund harmed the ability of the

United States to collect and [14] Banco Popular would have known, or should have inquired, about

this. As such, these transactions are subject to avoidance pursuant to the FDCPA.

          Accordingly, the factual allegations of the Complaint are sufficient to establish a plausible

claim that defendant [14] Banco Popular knowingly enabled, facilitated, and made it possible for

defendants to achieve the goal of diverting [2] AMAC’s unencumbered funds to satisfy personal

debts owed by [1] WR Pierluisi and his wife [10] MA González-Coya. The allegations are also

sufficiently to raise a valid issue of fact as to [14] Banco Popular’s lack of standing as a “good faith

transferee” because the allegations are that [14] Banco Popular had actual knowledge of

[2] AMAC’s and [1] WR Pierluisi’s financial difficulties when it took [2] AMAC’s assets to

benefit a third party, the [9] WMP Trust Fund that owned the mortgaged Conjugal Properties.

          The United States respectfully submits that the Complaint contains adequate facts in

support of the allegation that [14] Banco Popular was knowledgeable of the fraudulent nature of

the transfer of funds made by its longtime clients, defendants [1] WR Pierluisi and [2] AMAC,




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and the plaintiff should therefore be afforded the opportunity to prove its allegations and obtain

the remedies requested in the Complaint against [14] Banco Popular.

VII.    THE COMPLAINT ALLEGES FACTS SUFFICIENT TO ESTABLISH A
        VIOLATION OF THE PROVISIONS OF PUERTO RICO LAW REGARDING
        RESCISSION OF FRAUDULENT CONVEYANCES.

        [14] Banco Popular argues that the Complaint does not state actionable claims for

fraudulent avoidance under Puerto Rico law because “[t]he Complaint is devoid of any allegations

capable of establishing that BPPR conspired to defraud anyone, much less the United States as a

creditor of AMAC or Mr. Pierluisi.” ECF #68, p. 29. The allegations in the Complaint are to the

contrary. We explain.

        [14] Banco Popular acknowledges in the Motion to Dismiss that Puerto Rico law provides

for rescission of transactions executed to defraud creditors. Id., p. 28 (citing P.R. Laws, Tit. 31,

§ 6231). [14] Banco Popular also recognizes that for a cause of action of rescission under

Puerto Rico law to prosper, the claimant must allege that (a) a judgment or obligation exists against

the debtor-transferor, (b) the debtor-transferor transferred his property to another who knows about

the pre-existing debt, and (c) that the creditor-claimant must be prejudiced by the transfer and has

no other remedy to recover its damages. Id. (citing Hernandez-Rosado, 20 D.P.R. 163, 167

(1914)). P.R. Laws Tit 31, § 6231 (2020), however, further establishes that legal transactions by a

debtor are presumed to be made to defraud creditors when: (a) they are dated after the credit of the

injured creditor, or is made to prevent the consequences of a malicious act, (b) they exclude an

asset from the debtor’s estate, (c) they produce or aggravate the insolvency of the debtor, or

(d) they are granted with the intention of undermining the action of creditors, which malicious

intent is presumed in transactions carried out between relatives within the fourth degree of




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consanguinity or second degree of affinity, in gratuitous transactions, and in onerous transactions

executed after a sentence or a writ of attachment has been issued against the debtor.

       As more fully explained above, the Complaint duly alleges that [1] AMAC and

[1] WR Pierluisi had a debt owed to the United States. ECF #1, Section IV(A), pages 11-12.

The Complaint also duly alleges that [14] Banco Popular, a transferor of [2] AMAC’s

unencumbered assets knew or should have known about this pre-existing debt to the United States.

Id., Section IV(A) ¶ 28, p. 14. The Complaint also alleges that [1] WR Pierluisi transferred the

proprietary interest he shared in three real estate properties with his wife [10] MA Gonzalez-Coya,

the “Conjugal Properties” to defendant [9] WMP Trust Fund to hide assets from the United States,

after they became aware of the investigation into [1] WR Pierluisi’s and [2] AMAC’s wrongdoing

that was commenced in October 2022. Id., Section IV(A), ¶¶ 1-3, p. 10, Section IV(B)(1), ¶¶ 29-30,

pp. 14-15. The Complaint further alleges that the transactions that plaintiff seeks to avoid, in which

unencumbered funds belonging to [2] AMAC and deposited in Regions Bank account ending in

xxx5638 were fraudulently transferred to [14] Banco Popular in contemporaneous transactions on

May 1 and May 2, 2023 and through June 30, 2023 to satisfy debts owed by [1] WR Pierluisi and

[10] MA González-Coya, directly or through straw transactions in which [1] WR Pierluisi

intervened, are the six transactions listed in the Complaint’s prayer for relief and identified as

Transactions number 5, 14, 15, 16, 17 and 18. Id., Section VI, pp. 53-54.

       Accordingly, as more fully explained in Section VI above, the Complaint duly alleges that

[14] Banco Popular was a transferee that was fully aware of the legal and financial situations of

the debtors, [2] AMAC and [1] WR Pierluisi and was, therefore, a transferee lacking in good faith.

It is this alleged actual or constructive knowledge of the debtor’s legal and financial conditions

and the improper use of [2] AMAC’s corporate assets to satisfy [1] WR Pierluisi’s personal


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 obligations that makes [14] Banco Popular a transferee who was aware, when taking the transfer,

 of the fraudulent design of the transferor (‘conscus fraudis’). See VELCO v. Industrial Serv.

 Apparel, 143 D.P.R. 243, 255 (1977) (citing J. Puig Brutau, Fundamentos del Derecho Civil,

 Barcelona Bosch, Tome II, Vol. I, p 335).

         Under such circumstances, as duly alleged in the Complaint [14] Banco Popular did not

 take the assets transferred by [2] AMAC and [1] WR Pierluisi in good faith under Puerto Rico law,

 but subject to the rescission provisions of P.R. Laws Tit 31, § 6231. The allegations are not that

 [14] Banco Popular conspired to commit fraud, but that it knew, or should have known, of the

 fraudulent intent of the transferors and proceeded with the transaction in willful blindness of

 factual and legal circumstances that made the transfer rescindable because it was pursued to

 defraud creditors.

VIII.    BANCO POPULAR’S ALLEGATIONS IN SUPPORT OF THE
         MOTION TO DISMISS

            A. The payments to [14] Banco Popular in satisfaction of loans secured by
               mortgages over the Conjugal Properties with funds originating from [2] AMAC
               are not preferences conferred to a secured creditor because [2] AMAC is not a
               debtor of [14] Banco Popular under those loans.

         Banco Popular first argues that the payments it received to satisfy the debts secured by the

 mortgages encumbering the Conjugal Properties may not be deemed fraudulent transfers because

 those payments constituted preferences paid to a secured creditor instead of fraudulent

 conveyances. ECF #68, pp. 13-16. In support, [14] Banco Popular cited In Re Sharp Int’l Corp.

 403 F. 3d 43, 53, (2nd Cir. 2005) for the proposition that “a conveyance which satisfies an




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antecedent debt made while the debtor is insolvent is neither fraudulent nor otherwise improper,

even if its effect is to prefer one creditor over another.” 4

         This allegation fails to acknowledge that the Complaint avers that the debtors on the loans

secured by mortgages over the Conjugal Properties being satisfied were [1] WR Pierluisi and

[10] MA González-Coya. [2] AMAC was not a debtor under the loans, and [14] Banco Popular

was, therefore, not a secured creditor as to the payments made with [2] AMAC’s funds to satisfy

the antecedent debt of [1] WR Pierluisi and [10] MA González-Coya.

         More specifically, [2] AMAC was not indebted to [14] Banco Popular for the purchase of

a beach apartment at A-403 Palmas Doradas, Humacao Puerto Rico, and had no reason to make

any type of payment, preferential or otherwise, to satisfy said loan in advance of its maturity.

As alleged in the Complaint, [14] Banco Popular knew that the payoff for the mortgage on the loan

for Palmas Doradas beach apartment was issued by [2] AMAC, an entity who did not have any

obligation, secured or unsecured, to satisfy such debt. ECF #1, Section IV(B)(8), ¶¶ 66-75.

         [14] Banco Popular received and credited [2] AMAC’s check number 112, dated

May 1, 2023, to the order of Banco Popular, for $467,843.93, from its Regions Bank operational

account ending in 5368, to pay off the loan no. 0701245631, for the Palmas Doradas beach




4 In Re Sharp Int’l Corp. involved a Corporate Chapter 11 debtor who brought adversary proceeding claiming that
lender had aided and abetted principals in committing breach of their fiduciary duty in diverting assets from debtor,
and to set aside payment that lender received from debtor in repayment of preexisting loan as actually or constructively
fraudulent as to creditors. Unlike this case, however, plaintiff in that case did not, however, allege that the
lender/transferee that the payments received from the lender’s debtor were not in good faith or to alleges badges of
fraud in the transactions. Id., 403 F.3d at 48. For that reason, the Second Circuit affirmed the district court’s decision
to dismiss for failure to state a claim. The facts are substantially distinguishable from the facts in the present case. In
our case, [2] AMAC is not a debtor of [14] Banco Popular and the transfer of its unencumbered funds are not being
made to pay an antecedent debt of [2] AMAC. The payment cannot be a preference between creditors because
[14] Banco Popular was not a creditor of [2] AMAC. Like the situation in HBE Leasing, this is a case where the
transfer of funds from [2] AMAC to [14] Banco Popular lack fair consideration because [2] AMAC received no benefit
in return for the payments in satisfaction of the mortgages. [1] WR Pierluisi’s payments to [14] Banco Popular,
likewise, lack consideration because in making those payments he was benefiting a third party: [9] WMP Trust without
requiring fair consideration in return for that gratuitous gift.
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apartment. The memo section of the check from [2] AMAC clearly stated its intended purpose to

satisfy the entirety of the mortgage, “saldo prestamo 0701245631” (which translates to “Pay off

loan 0701245631” in English). This fact also made [14] Banco Popular aware of the fact that the

contemporaneous payments made by [1] WR Pierluisi on May 1, 2023, with cashier’s check issued

by Regions Bank to satisfy the mortgage encumbering the apartment in Condominio Sol y Playa,

and on May 2, 2023, with cashier’s checks issued by Regions Bank to satisfy the mortgage

encumbering the residence in Urb. Parque de Bucare originated from [2] AMAC’s unencumbered

funds deposited in Regions Bank.

       Transferees that are aware of the legal and financial situations of the transferor, like

[14] Banco Popular is specifically alleged to have been in this case, are not protected by the good

faith defense under Section 3307(a) of the FDCPA. See U.S. v. Schippers, 982 F.Supp.2d 948, 973

(S.D. Ia. 2013) (court found that wife was not a good faith transferee of husband, debtor in

restitution judgment, in transfers executed through a divorce decree entered after criminal

prosecution). If the transferee has actual or constructive knowledge of the intent to defraud,

fair consideration is deemed to be lacking and the transfer will be deemed a fraudulent conveyance.

In re Sharp Intern. Corp., 403 F.3d 43, 53 (2nd Cir. 2005) (citing HBE Leasing, 48 F.3d at 633

(“The UFCA identifies several situations involving ‘constructive fraud,’ in which a transfer made

without fair consideration constitutes a fraudulent conveyance, regardless of the intent of the

transferor.”). This is so because “fair consideration requires that the exchange not only be for

equivalent value, but also that the conveyance be made in good faith.” Ede v. Ede, 193 A.D.2d 940,

941-42 (NY 3d Dep’t 1993) (holding that fair consideration was lacking in face of evidence “which

can admit of no finding other that … bad faith.”). Accordingly, transfers can be set aside if a




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transferee, like [14] Banco Popular, knew the debtor was intending not only to pay some creditors,

but also to defraud others. See Van Iderstine v. National Discount Co., 20 U.S. 575, 583 (1913).

        Even the First Circuit Court in Boston Trading v. Burnazos, 825 F. 2nd 1504 (1st Cir 1987),

stated that “[f]raudulent conveyance law is basically concerned with transfers that ‘hinder, delay

or defraud’ creditors; it is not ordinarily concerned with how such debts were created.” Id.,

825 F.2d at 1510. The facts alleged in the Complaint entail transfers that hindered, delayed, and

defrauded the United States and [14] Banco Popular had a duty to inquire as to the nature of the

transfers.

        To prevail on a good faith defense, the transferee bears the burden of proving by a

preponderance of the evidence that (1) it gave value to the debtors for the payments, and

(2) received the payments in good faith. See In re Pearlman, 440 B.R. 900, 906 (M.D. Fla. 2010).

In establishing that good faith, the court will analyze both the transferee’s actual and imputed

knowledge. Id. In this inquiry “whether the transferee ‘had knowledge of such facts or

circumstances as would have induced an ordinary prudent person to make inquiry, and which

inquiry, if made with reasonable diligence, would have led to the discovery of the [transferor’s]

fraudulent purpose.” Id. (citing Wiand v. Waxenberg, 611 F.Supp.2d 1299, 1319-20

(M.D. Fla. 2009).

        There was no legal justification for [14] Banco Popular to ignore its duty to inquire

pursuant to BSA regulations regarding know your client, or to choose to remain willfully blind to

the fact that [2] AMAC, was paying off a mortgage on a property it did not own, fully aware of its

client’s $3,712,000 restitution debt to the United States. There was also no legal basis for

[1] WR Pierluisi and [10] MA Gonzalez-Coya to satisfy mortgages for properties owned by




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[11] WMP Trust Fund, while [1] WR Pierluisi owed a $2,035,498.86 restitution debt to the

United States.

       Furthermore, the owner of the encumbered Conjugal Properties at the time of the fraudulent

transfers was [9] WMP Trust Fund, so the benefit of the cancellation of the mortgages accrued to

this third party—not to [2] AMAC or [1] WR Pierluisi, the debtors whose funds were being

disbursed. Consequently, all ensuing arguments by [14] Banco Popular pertaining to [2] AMAC

and the mortgages over [1] WR Pierluisi and [10] MA Gonzalez-Coya’s Conjugal Properties are

distinguishable as a matter of fact and untenable as a matter of law.

       In the present case, the facts alleged in the Complaint support the claim that the transfers

made to [14] Banco Popular were in violation of Title 18 U.S.C.§ 3663A—the Mandatory Victims

Restitution Act, Title 18 U.S.C. § 3664(m)(l)(A)(ii)—the Criminal Restitution statute, and the

FDCPA because [14] Banco Popular was not a transferee in good faith and because the transactions

ought to be collapsed as phases of a single fraudulent conveyance.

           B. [14] Banco Popular, a secured creditor with a valid claim pursuant to loan
              encumbering the Conjugal Properties, is not immune from avoidance of
              fraudulent conveyances transferring assets of [2] AMAC not encumbered by a
              valid lien.

       [14] Banco Popular argues that it was a creditor with a valid claim at the time of the

fraudulent transfers as both terms are defined in Subchapter D of the FDCPA. ECF #68, pp. 16-18.

See 28 U.S.C. § 3301(3) and (4). It is correct, and recognized in the Complaint, that

[14] Banco Popular was a creditor of [1] WR Pierluisi and [10] MA Gonzalez-Coya with a valid

claim pursuant to the loans secured by mortgages encumbering the Conjugal Properties. However,

as explained before, [14] Banco Popular was not a creditor with a valid claim as to the $3.8 million

in unencumbered funds deposited into [2] AMAC’s Regions Bank account during the month of

April 2023. It is the transfer of those funds belonging to [2] AMAC between April 28, 2023 and

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June 30, 2023, that plaintiff seeks to avoid. As fully explained above, [14] Banco Popular did not

have a valid lien or claim over those unencumbered funds of [2] AMAC.

       Furthermore, the FDCPA does not grant creditors blanket immunity, nor does it exclude

them from the examination and analysis of intent involved in fraudulent transfer transactions.

A valid creditor may very well be involved in a fraudulent transaction to obtain hinder, delay or

defraud other creditors and such transactions would, accordingly, be subject to avoidance. Id.

Boston Trading, 825 F. 2nd at 1510. [14] Banco Popular fails to establish that its secured creditor

status as to [1] WR Pierluisi and [10] MA Gonzalez-Coya shields it from the application of the

voidability under the FDCPA fraudulent transfer action statute for transfers of [2] AMAC’s

unencumbered assets under circumstances, as fully alleged in the Complaint and explained above,

where [14] Banco Popular lack standing as a good faith transferee. 28 U.S.C. § 3304. As explained

above, [14] Banco Popular had a duty to inquire under BSA regulations and had ample knowledge

of [2] AMAC’s and [1] WR Pierluisi’s legal and financial circumstances as to have actual

knowledge of the fraudulent nature of the transfers.

           C. Payments to satisfy the loans secured by mortgages encumbering the
              Conjugal Properties did not provide fair value because they benefitted a third
              party, not [2] AMAC, the debtor making the transfer.

       [14] Banco Popular argues that payments to satisfy debts secured by liens, such as

mortgage liens, are considered transfers with value outside the scope of the FDCPA’s fraudulent

conveyance reach. ECF #68, pp. 17-18 and 25-28. See 28 U.S.C. § 3303(a). However, as fully

explained in Section III above, transfers made to benefit third parties are not deemed transfers for

value. See In re Health Gourmet, Inc., supra. In this case, the Complaint alleges that the

satisfaction of the mortgages was made to benefit a third party: the [9] WMP Trust Fund.




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       Furthermore, also as previously stated, the multiple transfers of [2] AMAC’s funds to

[14] Banco Popular, directly or through [1] WR Pierluisi, to satisfy the loans and mortgages

encumbering the Conjugal Properties do not constitute satisfaction of antecedent debt because

[2] AMAC was not a debtor under those loans and [14] Banco Popular did not have a secured

interest over [2] AMAC’s $3.8 million deposited in Regions Bank. In this case, the allegations

affecting [14] Banco Popular’s interests are that [2] AMAC’s unencumbered funds were used to

devise and implement a scheme during May and June 2023 whereby the United States was

defrauded by having those unencumbered corporate assets used to pay off debts owed by

[1] WR Pierluisi and his wife. Such payments by [2] AMAC to benefit [1] WR Pierluisi, his wife

[10] MA Gonzalez-Coya and [9] WMP Trust Fund do not constitute fair consideration or value to

[2] AMAC.

       Furthermore, Section 3303(b) of the FDCPA establishes that a person gives a reasonably

equivalent value if the person acquires an interest of the debtor in an asset pursuant to a regularly

conducted, non-collusive foreclosure sale or execution of a power of sale for the acquisition or

disposition of such interest upon default under a mortgage, deed of trust, or security agreement.

The allegations of the Complaint establish that no such reasonable equivalent value was exchanged

in the transactions to be voided. The mortgages subject of the challenged fraudulent conveyances

in the Complaint were neither in default, nor a foreclosure sale or execution of a power of sale,

requiring expedited payment to [14] Banco Popular. Moreover, the terms of the mortgage loan

agreement stated that their expiration dates were more than ten years away. Accordingly, the

transfer of the Conjugal Properties to the [9] WMP Trust Fund, where [1] WR Pierluisi’s wife and

children are the beneficiaries, and the satisfaction of all liens encumbering those

Conjugal Properties were multilateral transactions implemented as phases of a single collusive


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scheme designed to defraud the United States, a creditor of [1] WR Pierluisi and [2] AMAC. Thus,

the Complaint specifically alleges that the financial transactions as to which plaintiff seeks

avoidance, including the payments in the full satisfaction the three mortgages, were intended to

protect defendant’s [1] WR Pierluisi and [10] MA González Coya and their Conjugal Partnership’s

interests from the execution of the judgment of restitution imposed by this court.

           D. Any portion of a debtor’s property that is unencumbered by mortgage, the equity
              owned by the mortgagee, is subject to claim by a creditor, including actions under
              the FDCPA.

       [14] Banco Popular argues that the Conjugal Properties are “outside of the reach of the

fraudulent conveyance actions of the FDCPA” because they were encumbered by valid mortgages

in favor of [14] Banco Popular. ECF #68, p. 21. This argument misconstrues and misunderstands

the statute and the Complaint. As fully recognized by [14] Banco Popular, “any portion of a

debtor’s property that is unencumbered by mortgage—the equity—is part of the bankrupt’s estate”

that will be subject to fraudulent conveyance claims. In re Mahendra, 131 F.3d 750, 755 (8th Cir.

1997); ECF #68, p. 19. Only fully encumbered property will be deemed not an asset under the

FDCPA. Cf. Cage v. Wyo-Ben, Inc. (In re Ramba Inc.), 437 F.3d 457, 460 (5th Cir. 2006).

Accordingly, the mere fact that the Complaint alleges and acknowledges that [14] Banco Popular

held valid liens over the Conjugal Properties does not place those properties beyond reach of the

FDCPA because the United States, as a creditor of the owners of those properties, may file a claim

to access any unencumbered equity value in those properties in satisfaction of the debt owed by

[1] WR Pierluisi under the Judgment of Restitution.

       Furthermore, the Motion to Dismiss misconstrues the claims in the Complaint. Plaintiff

seeks avoidance of the transfer of the Conjugal Properties to the [9] WMP Trust Fund without in

such process seeking voidance or otherwise challenging the valid mortgages encumbering the


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properties. Plaintiff is not challenging, nor is it seeking preferred rank or status as to the valid

mortgages over the Conjugal Properties perfected prior to the 25 fraudulent transfers identified in

Section VI of the Complaint, Prayer for Relief, pp. 52-55, as to which the United States seeks a

declaration of nullity and voidance.

       Otherwise, the assets that plaintiff is pursuing against [14] Banco Popular are the portion

of the unencumbered $3.8 million deposited into [2] AMAC’s Regions Bank account and used to

satisfy the loans secured by the mortgages encumbering the Conjugal Properties through payments

between May 1 and June 20, 2023, to [14] Banco Popular and identified as transactions number 5,

14, 15, 16, 17, and 18 in the Prayer for Relief. ECF #1, Section VI, p. 53-54.

           E. The United States may seek collection of an order of restitution issued in criminal
              proceedings through any legal means, including any causes of action available
              under Puerto Rico law.

        [14] Banco Popular’s fifth allegation is that the Complaint fails to establish that

[1] WR Pierluisi had a substantial nonexempt interest that could place the Conjugal Properties

within the reach of a fraudulent transfer avoidance action under the FDCPA. While

[14] Banco Popular fails to cite the specific section of the FDCPA that supports such allegation,

the statute does establish, at §3303(b)(2) that it shall not be construed to curtail or limit the right

of the United States under any other Federal law or any State law— to collect any fine, penalty,

assessment, restitution, or forfeiture arising in a criminal case.

         Defendant [1] WR Pierluisi is a criminal defendant with a restitution debt which places

him well within the reach of the FDCPA and the criminal restitution statutes in Title 18. As such,

not only the FDCPA but also the criminal statutes at 18 U.S.C. § 3664(m)(1)(A)(ii) dictate that an

order of restitution may be enforced by the United States by all available and reasonable means,

including collection of any debt owed pursuant to a criminal proceeding under Puerto Rico law.


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        Additionally, and not less important, it is proper to highlight that [14] Banco Popular does

not have standing to claim the type of interests that [1] WR Pierluisi had or if such interests could

place the Conjugal Properties outside the reach of a fraudulent transfer avoidance action under the

FDCPA. As alleged in the Complaint, and established by § 3304 (b)(l)(A) of the FDCPA, a transfer

made or obligation incurred by a debtor is fraudulent as to a debt to the United States, whether

such debt arises before or after the transfer is made or the obligation is incurred, if the debtor makes

the transfer or incurs the obligation with actual intent to hinder, delay, or defraud a creditor.

            F. [14] Banco Popular’s relationship to [2] AMAC and [1] WR Pierluisi was that of
               a financial institution with a long-standing relationship, [14] Banco Popular was
               not merely an unrelated lender to a borrower.

        [14] Banco Popular argues that its relationship to [2] AMAC and [1] WR Pierluisi was

limited to that of an unrelated lender and that, therefore, it had no duty to inquire or actual or

constructive knowledge of fraud. ECF #68, pp. 23-25. The allegations in the Complaint, which the

court must take as true for purposes of its analysis on a motion to dismiss are to the contrary.

        As more fully explained in Section VI above, the Complaint alleges that

[14] Banco Popular had a long-standing financial relationship with defendants [1] WR Pierluisi,

[10] MA Gonzalez-Coya, their Conjugal Partnership, and [2] AMAC that went far beyond the

three mortgage-backed loans over the Conjugal Properties. See Complaint, ECF #1, Section II(B)

¶ 14, p. 8. [14] Banco Popular was fully aware of their personal and corporate financial

circumstances, including their criminal prosecution and resulting debt to the United States and had

a duty under the BSA to inquire as to their transactions. Id., Section IV(A) ¶ 28, p. 14. Thus, at the

time of the challenged transfers it was [14] BPPR’s responsibility and duty under applicable BSA

regulations to know and inquire about the origin of the multi-million-dollar transfers completed

by [1] WR Pierluisi with [2] AMAC’s corporate funds to satisfy personal loans encumbering


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properties owned by a third party: [11] WMP Trust Fund. The Complaint further alleges that the

transactions of May 1 and June 30, 2023, satisfying in full the loans guaranteed by mortgages held

by [14] Banco Popular were characterized by indicia or badges of fraud, including that the

“transfers made by [1] WR Pierluisi were to [14] Banco Popular, a lienor, who provided adequate

consideration not to [1] WR Pierluisi in exchange for the funds, but to [9] WMP Trust Fund, an

insider of [1] WR Pierluisi”, and “[o]ne of the transfers made by [2] AMAC to [14] Banco Popular,

a lienor, who provided adequate consideration in exchange for the funds not to [2] AMAC but to

[9] WMP Trust Fund, an insider of [1] WR Pierluisi who controlled [2] AMAC.” Id.,

Section VI(C), ¶ 104 p. 29; and Section VI(D), ¶ 112 p. 31.

       For these reasons, the factual allegations of the Complaint are sufficient to establish a

plausible claim that defendant [14] Banco Popular knowingly enabled, facilitated, and made it

possible for defendants to achieve the goal of fraudulently diverting [2] AMAC’s unencumbered

corporate funds to satisfy personal debts owed by [1] WR Pierluisi and his wife

[10] MA González-Coya. The allegations are also sufficiently to raise a valid issue of fact as to

[14] Banco Popular’s lack of standing as a “good faith transferee” because the allegations are that

[14] Banco Popular had actual knowledge of [2] AMAC’s and [1] WR Pierluisi’s financial

difficulties when it took [2] AMAC’s assets to benefit a third party, the [9] WMP Trust Fund that

owned the mortgaged Conjugal Properties.

IX.     CONCLUSION

       WHEREFORE, the United States respectfully requests that this Honorable Court deny

[14] Banco Popular’s Motion to Dismiss because the allegations in the Complaint present facts

sufficient to make a plausible claim against [14] Banco Popular on all counts of the Complaint.




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                                    CERTIFICATE OF SERVICE

       IT IS HEREBY CERTIFIED that on this date, undersigned counsel electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all attorneys of record; and mailed USPS Certified to Pro-Se defendant Walter R.

Pierluisi-Isern, 54012-510, Pensacola Federal Prison Camp, P.O. Box 3949, Pensacola, Fl 32516.

       RESPECTFULLY SUBMITTED.
       In San Juan, Puerto Rico, this 25th day of November, 2024.
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